EXHIBIT 32
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                            Case No. 1:25-cv-10910

                        Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                        Defendants.



                            DECLARATION OF TRUDY MERRITT

I, Trudy Merritt, declare as follows:

       1.      I am a PhD student in Virology at Harvard Medical School.

       2.      I started my PhD program in 2023. I hold a Bachelor of Science in Cell/Cellular

and Molecular Biology from Missouri State University.

       3.      I am a member of Harvard Graduate Students Union, one of the two collective

bargaining units of Harvard’s chapter of the International Union, United Automobile, Aerospace

and Agricultural Implement Workers of America (“HGSU–UAW”).

       4.      My research focuses on viral-host interactions and specifically how viruses interact

with cell signaling pathways driving inflammation and cell death. I explore how viruses have

evolved mechanisms to evade innate immune response.

       5.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.


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       6.      I am aware that the Trump administration has taken a series of actions targeting

Harvard in recent months. In particular, I am aware that on March 10, 2025 the federal government

sent a letter to Harvard and many other universities warning of potential enforcement actions. I am

aware that on March 31, 2025, the federal government announced a comprehensive review of

federal contracts and grants at Harvard University and its affiliates. I am aware that officials from

the Trump administration sent a letter to Harvard on April 3, 2025 demanding that Harvard

immediately take a long list of actions to remain a recipient of federal funding (the “April 3

Letter”). I am aware that this was followed by a subsequent letter from Trump administration

officials on April 11, 2025 with more detailed demands that “incorporate[d] and supersede[d] the

terms” of the April 3 Letter and which the Trump administration proposed would serve “as the

basis for an agreement in principle that will maintain Harvard’s financial relationship with the

federal government” (the “April 11 Letter,” and together with the April 3 Letter, the “Demand

Letters”). Both of the Demand Letters were made public and I have read the demands listed in the

Demand Letters.

       7.      I am aware that on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       8.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon

announced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,



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Department of Defense, the National Science Foundation (“NSF”), and the Department of Housing

and Urban Development each terminated their grants to Harvard. Letters communicating each of

these terminations were made public, and I have read each of those letters.

        9.     I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American

universities and making a range of threats about how the federal government intended to use its

authority to impose numerous demands on Harvard University specifically.

        Research Funding

        10.    My PhD is entirely funded by the T32 grant program, which provides funding to

train PhD researchers in specific research areas with a documented shortage of highly qualified

scientists.

        11.    The loss of my T32 federal funding imminently affects my work and ability to

continue in my PhD program. It impacts my ability to attend conferences to further my career and

find collaborators for my research project, as I will not have the funding to attend them.

        12.    The termination of funding threatens the loss of my paycheck and without a

paycheck, I would not be able to continue in my PhD program. As a full-time graduate student, I

am not able to hold a full-time job that would financially support me. Without the T32 training

grant, I am concerned I will have to halt all progress towards my degree to find employment

elsewhere to afford essential living expenses. Since the termination of NIH funding, including all

T32 training grants, I have received no specific information on how my PhD will continue to be

funded. While Harvard has promised $250 million to support research on campus, it remains

unclear how this money will be dispersed and how individual programs might supplement the

remaining billions of research funding that has been cut to date. The continued uncertainty caused



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by the termination of NIH funding for my PhD has also had a detrimental impact on my research

progress by increasing anxiety and impacting my ability to focus.

        Impacts on Academic Freedom

        13.     The threats to and terminations of Harvard’s federal funding and related demands

by the Trump administration that Harvard make changes to retain its funding have also had a

chilling effect on my actions.

        14.     After the termination of my funding, I rewrote grant proposals and applications for

federal funding to minimize my research’s contribution to understanding viral infection and

spread. My research and the work done by other virologists is necessary to better understand the

biology of viruses and has a direct impact on public health. But I made these changes due to

concerns that the applications would be rejected outright because of the Trump administration’s

views on the field of virology.

        15.     At this time, I have not submitted the funding applications due to additional actions

taken by the Trump administration. Regardless of affiliation with entities outside of Harvard

University (i.e. lab specific hospital affiliation), all Harvard graduate students must submit grants

through Harvard. As was made clear in the contents of the administration’s May 5th letter, as a

Harvard graduate student, I have no current means of securing federal funding to continue my

research.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: May 30, 2025                                   Signed: /s/ Trudy Merritt

                                                      Trudy Merritt
                                                      PhD Student

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